 Case: 1:17-cv-00475-SJD-SKB Doc #: 50 Filed: 10/22/19 Page: 1 of 1 PAGEID #: 2793




                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION


TYLER GISCHEL,

           Plaintiff,                                 Case No. 1:17-cv-00475

v.                                                    Dlott, J.; Bowman, M.J.

UNIVERSITY OF CINCINNATI, et al.,

           Defendants.



                                CALENDAR ORDER

This case shall proceed as follows:

1.    Discovery deadline: August 28, 2020

      Deadline for Plaintiff to identify experts and provide reports: October 30, 2020

      Deadline for Defendant to identify experts and provide reports: December 15, 2020

2.    Dispositive motion deadline: October 1, 2020

      The Final Pretrial Conference and trial dates will be scheduled by Judge Dlott.



                                        s/Stephanie K. Bowman
                                        Stephanie K. Bowman
                                        United States Magistrate Judge
